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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                     ) Chapter 11
In re:                                               )
                                                     ) Case No. 23-11069 (CTG)
YELLOW CORPORATION, et al.,1                         ) (Jointly Administered)
                                                     )
            Debtors.                                 ) Hearing Date: October 23, 2023 at 10:00 am (ET)
                                                     ) Obj. Deadline: October 3, 2023 at 4:00 pm (ET)


                                          NOTICE OF MOTION

       PLEASE TAKE NOTICE that Gary W. Gibby (“Gibby”), by and through his
undersigned counsel, has filed the attached Motion of Gary W. Gibby for Relief from the
Automatic Stay (the “Motion”).

       PLEASE TAKE FURTHER NOTICE that any objections to the Motion must be filed on
or before October 23, 2023 at 4:00 p.m. (Eastern Time) (the “Objection Deadline”) with the
United States Bankruptcy Court for the District of Delaware, 3rd Floor, 824 N. Market Street,
Wilmington, Delaware 19801. At the same time, you must serve a copy of any objection upon the
undersigned counsel to Solomon so as to be received on or before the Objection Deadline.

     PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE
MOTION WILL BE HELD ON A DATE AND TIME TO BE DETERMINED BEFORE THE
HONORABLE CRAIG T. GOLDBLATT AT THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 3RD FLOOR,
COURTROOM NO. 7, WILMINGTON, DELAWARE 19801.

    PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN
ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF
REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR A HEARING.


Dated: September 19, 2023                                  FISHERBROYLES, LLP

                                                            /s/ Carl D. Neff
                                                           Carl D. Neff (No. 4895)
                                                           Maura L. Burke (No. 5313)




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation.The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
Overland Park, Kansas 66211.
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                                Counsel to Movant, Gary W. Gibby




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